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                                                                                                    U.S. BANKRUPTCY COURT
                                                                                                 NORTHERN DISTRICT OF TEXAS


                                                                                                     ENTERED
                                                                                                  TAWANA C. MARSHALL, CLERK
                                                                                                     THE DATE OF ENTRY IS
                                                                                                    ON THE COURT'S DOCKET



The following constitutes the ruling of the court and has the force and effect therein described.



 Signed April 14, 2014
______________________________________________________________________



                              IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE NORTHERN DISTRICT OF TEXAS
                                           DALLAS DIVISION

                                                )
     In re                                      ) Chapter 15
                                                )
     MtGox Co., Ltd. (a/k/a MtGox KK)           ) Case No. 14-31229-sgj15
                                                )
                Debtor in a Foreign Proceeding. )
                                                )

                    ORDER ADJOURNING RECOGNITION HEARING
         AND GRANTING EMERGENCY MOTION TO APPROVE NOTICE PROCEDURES

                Upon the Petitioner’s Emergency Motion to Approve Notice Procedures [Dkt. No. 48]

     (the “Motion”), seeking approval of the manner of service of the Recognition Hearing Notice1

     pursuant to sections 105(a) and 1514 of title 11 of the United States Code (the “Bankruptcy

     Code”), and Rules 2002, 9006, 9007 and 9008 of the Federal Rules of Bankruptcy Procedure (the

     “Bankruptcy Rules”); and upon hearing on the Motion on April 1, 2014; and the Court having

     determined that the relief requested in the Motion is in the best interests of the Debtor, its estate,

     its creditors, and other parties in interest; and it appearing that proper and adequate notice of the


     1
         Capitalized terms not otherwise defined herein shall have the meanings ascribed to them in the Motion.


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 Motion has been given and that no other or further notice is necessary; and upon the record

 herein; and after due deliberation thereon; and good and sufficient cause appearing therefor, it is

 hereby

          ORDERED, ADJUDGED AND DECREED that:

          1.    The Motion is GRANTED.

          2.    The Recognition Hearing is hereby adjourned to May 20, 2014 at 9:30 a.m.

 (Prevailing Central Time), before the Honorable Stacey G.C. Jernigan, United States Bankruptcy

 Court, Northern District of Texas, 14th Floor, 1100 Commerce Street, Dallas, Texas 75252.

          3.    The Petitioner shall serve the Recognition Hearing Notice upon the Notice Parties

 that are known to the Petitioner as of the date hereof on or before April 14, 2014 via United

 States First Class Mail and/or electronic mail (at their last known mailing or email address, if for

 whom the Petitioner has such addresses). In addition, the Petitioner shall notice each of the

 Debtor’s customers via electronic mail on or before April 25, 2014.

          4.    The form of abbreviated version of the Recognition Hearing Notice attached

 hereto as Exhibit A (the “Publication Notice”) is hereby approved.

          5.    The Petitioner shall cause the Publication Notice to be published in the Debtors’

 website, https://www.mtgox.com/ and in http://www.reddit.com/.

          6.    If any party files a notice of appearance in this case, Petitioner shall serve the

 Recognition Hearing Notice upon such party by the later of (a) twenty-three (23) days prior to

 the Recognition Hearing; or (b) three (3) business days following the filing of such notice of

 appearance, unless such party or its counsel has otherwise already been served with the

 Recognition Hearing Notice.




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           7.   Service pursuant to this Order shall be good and sufficient service and adequate

 notice of the Recognition Hearing.


                                   # # # END OF ORDER # # #

 Prepared and submitted by:

 BAKER & McKENZIE LLP

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 - and -

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 Foreign Representative of MtGox Co., Ltd., a/k/a MtGox KK




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               EXHIBIT A TO ORDER GRANTING EMERGENCY MOTION
                        TO APPROVE NOTICE PROCEDURES

                      NOTICE OF ADJOURNMENT OF RECOGNITION HEARING

                   In re MtGox Co., Ltd. (a/k/a MtGox KK), Case No. 14-31229-sgj15
          United States Bankruptcy Court for the Northern District of Texas, Dallas Division

         PLEASE TAKE NOTICE that the hearing on the Petitioner’s Petition for Recognition and Chapter
 15 Relief [Dkt. No. 1] (the “Recognition Hearing”) set for April 1, 2014 at 1:30 p.m. and to continue, if
 necessary on April 2, 2014 at 9:30 a.m. (CST) has been adjourned to May 20, 2014 at 9:30 a.m.
 (Prevailing Central Time), and will take place before the Honorable Stacey G.C. Jernigan, at the
 United States Bankruptcy Court, Northern District of Texas, 14th Floor, 1100 Commerce Street,
 Dallas, Texas 75252.

          PLEASE TAKE FURTHER NOTICE that responses or objections, if any, to the Petitioner’s
 Petition for Recognition and Chapter 15 Relief shall be filed with this Court and served by mail or email
 upon United States counsel to the Petitioner: Baker & McKenzie LLP, 2300 Trammell Crow Center, 2001
 Ross Ave., Dallas, TX 75201 (Attn: David W. Parham, david.parham@bakermckenzie.com, and John
 Mitchell,    john.mitchell@bakermckenzie.com);      counsel     to     the   United    States    Trustee:
 Lisa.L.Lambert@usdoj.gov; counsel to plaintiffs in Chicago putative class action or “Green” action:
 Haynes and Boone, LLP, 2323 Victory Ave., Ste. 700, Dallas, TX 75219 (Attn: Robin E. Phelan,
 robin.phelan@haynesboone.com, and Stephen Manz, stephen.manz@haynesboone.com) so as to be
 received on or before 4:00 p.m. (Central Time) seven days prior to the Recognition Hearing.

         PLEASE TAKE FURTHER NOTICE that copies of the Petition for Recognition and Chapter 15
 Relief and accompanying papers are available to parties-in-interest on the Bankruptcy Court’s Electronic
 Case Filing System, which can be accessed at this website: http://www.txnb.uscourts.gov/ (a PACER
 login and password are required to retrieve a document), or upon written notice, by mail or email, to the
 United States counsel to the Petitioner at the contact information above.




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